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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )      CR No. 17-1235 WJ
                                                  )
       vs.                                        )
                                                  )
MATTHEW WOODS,                                    )
                                                  )
               Defendants.                        )
                                                  )

                       UNITED STATES= FIRST AMENDED WITNESS LIST

       The United States of America, by and through its attorneys John C. Anderson, United

States Attorney for the District of New Mexico, Letitia Carroll Simms and Jack Burkhead,

attorneys for said District, respectfully file the list of anticipated witnesses which may be called

for its case-in-chief at trial and requests permission to submit such additional list as may become

necessary prior to and during trial:

       1.      Special Agent Scott Pharis, Homeland Security Investigations;

       2.      Sergeant Matthew Vollmer, Albuquerque Police Department;

       3.      Special Agent Colin Owens, Homeland Security Investigations;

       4.      Detective Jodi Gonterman, Albuquerque Police Department;

       5.      Detective Josh Brown, Albuquerque Police Department;

       6.      Officer Tillery Dicenzo, Albuquerque Police Department;

       7.      Deputy Joaquin Rodriguez, Bernalillo County Sherriff’s Department;

       8.      Abraham Gallardo or Debbie Padilla, or other custodian of records for MDC;


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       9.      Custodian of records for Albuquerque Public Schools;

       10.     Sherrie A. Cordova, formerly Albuquerque SANE;

       11.     Kimberly Mehlman-Orozco;

       12.     Special Agent Morgan Langer, Homeland Security Investigations;

       13.     Special Agent Kyle Hartsock, Second Judicial District Attorney’s Office;

       14.     Danielle Galloway;

       15.     M.V.;

       16.     T.R.;

       17.     A.R.;

       18.     K.T.;

       19.     J.R.;

       20.     M.M.


                                              Respectfully submitted,

                                              FRED J. FEDERICI
                                              Acting United States Attorney

                                              Electronically filed 1/5/2021
                                              LETITIA CARROLL SIMMS
                                              JACK BURKHEAD
                                              Assistant U.S. AttorneyS
                                              P.O. Box 607
                                              Albuquerque, NM 87103
                                              (505) 346-7274


I hereby certify that on, January 5, 2021
I filed the foregoing electronically through
the CM/ECF system, which caused Counsel
for the Defendant, to be served by Electronic means,
as more fully reflected on the Notice of Electronic Filing.

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         /s/
LETITIA CARROLL SIMMS
Assistant United States Attorney




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